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8                                      UNITED STATES BANKRUPTCY COURT
9                   NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10

11
     In re: JEFFREY E.              DEWEESE,                Case No. 19-30625 HLB13
12                                                          Chapter 13
13                                        Debtor,           Request for Relief for Entry of Default on
                                                            Order on Motion to Value Personal Property
14                                                          held by On Deck Capital, Inc.
                                                            [L.B.R. 9014-1(b)(4)(A)]
15

16
                                                            Date:        None Set
                                                            Time:        None Set
17   _____________________________/                         Courtroom:

18             I,      Badma Gutchinov, Esq. declare:
19
               1.       I am an attorney for the above Debtors. I have personal knowledge of following
20
     facts and if I am called to testify, I could and would competently testify hereto.
21
               2.        On August 9, 2019, the above Debtor filed and served Notice of Opportunity for a
22

23   Hearing [Docket No. 67, Filed August 9, 2019], a Motion to Value Personal Property held by On

24   Deck Capital Inc. [Docket No. 66, Filed August 9, 2019]. and supporting Declaration of Debtor
25   in Support Thereof [Docket No. 66-1, Filed August 9, 2019] of the secured personal property
26
     collateral valued at $15,000 with a legal interest rate of 10% pursuant to Debtor's Second
27
     Amended Plan [Docket No. 60, Filed August 7, 2019] and that any amount in excess be treated
28


     Declaration Re: Request for Default Order                1
Case: 19-30625            Doc# 70         Filed: 08/30/19     Entered: 08/30/19 12:10:17   Page 1 of 2
1    as a general unsecured creditor's claim as part of Debtor's plan.
2
               3.        The value of the collateral or personal property was valued at $15,000
3
     [Declaration of Debtor in Support Thereof [Docket No. 66-1, Filed August 9, 2019].
4
               4.        The Creditor, On Deck Capital, Inc. has filed Amended Proof of Claim for value
5

6    of collateral at $15,000 [Claim No 1, Filed July 11, 2019].

7              5.       Creditor, On Deck Capital, Inc. was served by U.S. Certified Mail on August 9,
8    2019. I ask the court to take judicial notice of USPS Tracking Number 7017 3040 0000 7188
9
     0301 and 7017 3040 0000 7188 0288 which includes service on the designated Agent for Service
10
     of Process which shows that the certified mailings have been delivered to Creditor, On Deck
11
     Capital, Inc.
12

13             6.    More than 21 days have run since the service of the motion. My law office has not

14   received any response to the motion nor has any creditor or party in interest requested a hearing.
15
               7. This request for entry of default for proposed order re: motion to value personal
16
     property held property held by Direct Capital, Inc. and proposed order have been served by mail.
17
               8.    I declare under the penalty of perjury under the laws of the State of California that
18
     the foregoing is true and correct. Executed in San Francisco, California.
19

20   Dated: August 30, 2019                       /s/Badma Gutchinov, Esq.______________
                                                  Badma Gutchinov, Esq.
21                                                Attorney for Debtor
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     Declaration Re: Request for Default Order              2
Case: 19-30625            Doc# 70         Filed: 08/30/19   Entered: 08/30/19 12:10:17     Page 2 of 2
